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                  7   THE BOSTON CONSULTING GROUP, INC.
                  8
                  9                       UNITED STATES DISTRICT COURT
                10                       CENTRAL DISTRICT OF CALIFORNIA
                11
                12    THE BOSTON CONSULTING GROUP,            CASE NO. 8:20-cv-02047 JVS (DFMx)
                      INC., a Massachusetts corporation,
                13                                            [Assigned to Hon. James V. Selna]
                                         Plaintiff,
                14
                             v.                               STIPULATED PROTECTIVE
                15                                            ORDER
                      ALORICA INC., a Delaware corporation;
                16    and DOES 1 through 10, inclusive,
                17                       Defendants.
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                  1   I.    PURPOSES AND LIMITATIONS
                  2         Discovery in this action is likely to involve production of confidential,
                  3   proprietary, or private information for which special protection from public disclosure
                  4   and from use for any purpose other than prosecuting this litigation may be warranted.
                  5   Accordingly, the parties hereby stipulate to and petition the Court to enter the
                  6   following Stipulated Protective Order. The parties acknowledge that this Order does
                  7   not confer blanket protections on all disclosures or responses to discovery and that
                  8   the protection it affords from public disclosure and use extends only to the limited
                  9   information or items that are entitled to confidential treatment under the applicable
                10    legal principles. The parties further acknowledge, as set forth in Section XIII(C),
                11    below, that this Stipulated Protective Order does not entitle them to file confidential
                12    information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
                13    followed and the standards that will be applied when a party seeks permission from
                14    the Court to file material under seal.
                15    II.   GOOD CAUSE STATEMENT
                16          In light of the nature of the claims and allegations in this case and the parties’
                17    representations, discovery in this case will involve the production of confidential and
                18    proprietary information for which special protection from public disclosure and from
                19    use for any purpose other than prosecution of this action is warranted.            Such
                20    confidential and proprietary materials and information consist of, among other things,
                21    confidential business or financial information, information regarding confidential
                22    business practices, or other confidential research, development, or commercial
                23    information (including information implicating privacy rights of third parties),
                24    information otherwise generally unavailable to the public, or which may be privileged
                25    or otherwise protected from disclosure under state or federal statutes, court rules, case
                26    decisions, or common law. Accordingly, to expedite the flow of information, to
                27    facilitate the prompt resolution of disputes over confidentiality of discovery materials,
                28    to adequately protect information the parties are entitled to keep confidential, to
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                  1   ensure that the parties are permitted reasonable necessary uses of such material in
                  2   connection with this action, to address their handling of such material at the end of
                  3   the litigation, and to serve the ends of justice, a protective order for such information
                  4   is justified in this matter. The parties shall not designate any information/documents
                  5   as confidential without a good faith belief that such information/documents have been
                  6   maintained in a confidential, non-public manner, and that there is good cause or a
                  7   compelling reason why it should not be part of the public record of this case.
                  8   III.   DEFINITIONS
                  9          A.     Action: The instant action: The instant action: The Boston Consulting
                10    Group, Inc. v. Alorica, Inc., Case No. 8:20-cv-02047 JVS (DFMx), United States
                11    District Court for the Central District of California
                12           B      Challenging Party: a Party or Non-Party that challenges the designation
                13    of information or items under this Order.
                14           C.     “CONFIDENTIAL” Information or Items: information (regardless of
                15    how it is generated, stored or maintained) or tangible things that qualify for protection
                16    under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
                17    Cause Statement.
                18           E.     Counsel: Outside Counsel of Record and In-House Counsel (as well as
                19    their support staff).
                20           F.     Designating Party: a Party or Non-Party that designates information or
                21    items that it produces in disclosures or in responses to discovery as
                22    “CONFIDENTIAL.”
                23           G.     Disclosure or Discovery Material: all items or information, regardless
                24    of the medium or manner in which it is generated, stored, or maintained (including,
                25    among other things, testimony, transcripts, and tangible things), that are produced or
                26    generated in disclosures or responses to discovery in this matter.
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                  1         H.     Expert: a person with specialized knowledge or experience in a matter
                  2   pertinent to the litigation who has been retained by a Party or its counsel to serve as
                  3   an expert witness or as a consultant in this Action.
                  4         I.     In-House Counsel: attorneys who are employees of a party to this Action
                  5   or related entity. In-House Counsel does not include Outside Counsel of Record or
                  6   any other outside counsel.
                  7         J.     Non-Party: any natural person, partnership, corporation, association, or
                  8   other legal entity not named as a Party to this Action.
                  9         K.     Outside Counsel of Record: attorneys who are not employees of a party
                10    to this Action but are retained to represent or advise a party to this Action and have
                11    appeared in this Action on behalf of that party or are affiliated with a law firm which
                12    has appeared on behalf of that party, and includes support staff.
                13          L.     Party: any party to this Action, including all of its officers, directors,
                14    employees, consultants, retained experts, and Outside Counsel of Record (and their
                15    support staffs).
                16          M.     Producing Party: a Party or Non-Party that produces Disclosure or
                17    Discovery Material in this Action.
                18          N.     Professional Vendors: persons or entities that provide litigation support
                19    services (e.g., photocopying, videotaping, translating, preparing exhibits or
                20    demonstrations, and organizing, storing, or retrieving data in any form or medium)
                21    and their employees and subcontractors.
                22          O.     Protected Material:     any Disclosure or Discovery Material that is
                23    designated as “CONFIDENTIAL.”
                24          P.     Receiving Party: a Party that receives Disclosure or Discovery Material
                25    from a Producing Party.
                26    IV.   SCOPE
                27          The protections conferred by this Order cover not only Protected Material (as
                28    defined above), but also (1) any information copied or extracted from Protected
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                  1   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
                  2   and (3) any deposition testimony, conversations, or presentations by Parties or their
                  3   Counsel that might reveal Protected Material, other than during a Court hearing or at
                  4   trial. The protections conferred by this Order do not cover the following information:
                  5   (a) any information that is in the public domain at the time of disclosure to a Receiving
                  6   Party or becomes part of the public domain after its disclosure to a Receiving Party
                  7   as a result of publication not involving a violation of this Order, including becoming
                  8   part of the public record through trial or otherwise; and (b) any information known to
                  9   the Receiving Party prior to the disclosure or obtained by the Receiving Party after
                10    the disclosure from a source who obtained the information lawfully and under no
                11    obligation of confidentiality to the Designating Party.
                12          Any use of Protected Material during trial shall be governed by the orders of
                13    the trial judge. This Order does not govern the use of Protected Material at trial.
                14    V.    DURATION
                15          Even after final disposition of this litigation, the confidentiality obligations
                16    imposed by this Order shall remain in effect until a Designating Party agrees
                17    otherwise in writing or a Court order otherwise directs. Final disposition shall be
                18    deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
                19    or without prejudice; and (2) final judgment herein after the completion and
                20    exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                21    including the time limits for filing any motions or applications for extension of time
                22    pursuant to applicable law. This Court retains jurisdiction to hear all matters falling
                23    under this Order.
                24    VI.   DESIGNATING PROTECTED MATERIAL
                25          A.     Exercise of Restraint and Care in Designating Material for
                26                 Protection.
                27                 1.     Each Party or Non-Party that designates information or items for
                28    protection under this Order must take care to limit any such designation to specific
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                  1   material that qualifies under the appropriate standards. The Designating Party must
                  2   designate for protection only those parts of material, documents, items, or oral or
                  3   written communications that qualify – so that other portions of the material,
                  4   documents, items, or communications for which protection is not warranted are not
                  5   swept unjustifiably within the ambit of this Order.
                  6                  2.   Mass, indiscriminate, or routinized designations are prohibited.
                  7   Designations that are shown to be clearly unjustified or that have been made for an
                  8   improper purpose (e.g., to unnecessarily encumber the case development process or
                  9   to impose unnecessary expenses and burdens on other parties) may expose the
                10    Designating Party to sanctions.
                11                   3.   If it comes to a Designating Party’s attention that information or
                12    items that it designated for protection do not qualify for protection, that Designating
                13    Party must promptly notify all other Parties that it is withdrawing the inapplicable
                14    designation.
                15          B.       Manner and Timing of Designations.
                16                   1.   Except as otherwise provided in this Order (see, e.g., second
                17    paragraph of Section B.2(b) below), or as otherwise stipulated or ordered, Disclosure
                18    or Discovery Material that qualifies for protection under this Order must be clearly so
                19    designated at the time the Disclosure is made or Discovery Material is produced.
                20                   2.   Designation in conformity with this Order requires:
                21                        (a) for information in documentary form (e.g., paper or electronic
                22    documents, but excluding transcripts of depositions or other pretrial or trial
                23    proceedings), that the Producing Party affix the legend “CONFIDENTIAL” to each
                24    document or page that contains protected material, whichever is reasonable under the
                25    circumstances. If only a portion or portions of the material on a page qualifies for
                26    protection, the Producing Party also must clearly identify the protected portion(s)
                27    (e.g., by making appropriate markings in the margins).
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                  1                       (b) A Party or Non-Party that makes original documents available
                  2   for inspection need not designate them for protection until after the inspecting Party
                  3   has indicated which documents it would like copied and produced. During the
                  4   inspection and before the designation, all of the material made available for inspection
                  5   shall be deemed “CONFIDENTIAL.” After the inspecting Party has identified the
                  6   documents it wants copied and produced, the Producing Party must determine which
                  7   documents, or portions thereof, qualify for protection under this Order. Then, before
                  8   producing the specified documents, the Producing Party must affix the
                  9   “CONFIDENTIAL” legend to each page that contains Protected Material, or in
                10    another reasonable manner if the native form of the document makes designation on
                11    each page unworkable. If only a portion or portions of the material on a page qualifies
                12    for protection, the Producing Party also must clearly identify the protected portion(s)
                13    (e.g., by making appropriate markings in the margins).
                14                        (c) for testimony given in depositions, that the Designating Party
                15    identifies on the record, before the close of the deposition as protected testimony or
                16    in writing 30 days after receipt of the final transcript. All transcripts shall be
                17    designated Highly Confidential in their entirety until the expiration of the 30 days.
                18                        (d)    for information produced in some form other than
                19    documentary and for any other tangible items, that the Producing Party affix in a
                20    prominent place on the exterior of the container or containers in which the information
                21    is stored the legend “CONFIDENTIAL”.             If only a portion or portions of the
                22    information warrants protection, the Producing Party, to the extent practicable, shall
                23    identify the protected portion(s).
                24          C.     Inadvertent Failures to Designate
                25          If timely corrected, an inadvertent failure to designate qualified information or
                26    items does not, standing alone, waive the Designating Party’s right to secure
                27    protection under this Order for such material. Upon timely correction of a designation,
                28    the Receiving Party must make reasonable efforts to assure that the material is treated
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                  1   in accordance with the provisions of this Order. Within 30 days of notice, the
                  2   Receiving Party must (1) certify to the Designating Party it has appropriately marked
                  3   or, if substitute production has been requested, destroyed all unmarked copies that it
                  4   received, made, and/or distributed; and (2) if it was practicably unable to mark or
                  5   destroy any information because disclosures occurred while the Receiving Party was
                  6   under no duty of confidentiality under the terms of this Order regarding that
                  7   information, the Receiving Party must reasonably provide as much information as
                  8   practicable to aid the Designating Party in protecting the information, consistently
                  9   with the Receiving Party’s attorney-client, work-product, and/or trial-preparation
                10    privileges.
                11    VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
                12          A.      Timing of Challenges.
                13          Any Party or Non-Party may challenge a designation of confidentiality at any
                14    time that is consistent with the Court’s Scheduling Order.
                15          B.      Meet and Confer.
                16          The Challenging Party shall initiate the dispute resolution process under Local
                17    Rule 37-1 et seq.
                18          C.      Challenges Procedure.
                19          The burden of persuasion in any such challenge proceeding shall be on the
                20    Designating Party. Frivolous challenges, and those made for an improper purpose
                21    (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
                22    expose the Challenging Party to sanctions. Unless the Designating Party has waived
                23    or withdrawn the confidentiality designation, all parties shall continue to afford the
                24    material in question the level of protection to which it is entitled under the Producing
                25    Party’s designation until the Court rules on the challenge.
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                  1   VIII. ACCESS TO AND USE OF PROTECTED MATERIAL
                  2         A.     Basic Principles.
                  3                1.    Receiving Party may use Protected Material that is disclosed or
                  4   produced by another Party or by a Non-Party in connection with this Action only for
                  5   prosecuting, defending, or attempting to settle this Action. Such Protected Material
                  6   may be disclosed only to the categories of persons and under the conditions described
                  7   in this Order. When the Action has been terminated, a Receiving Party must comply
                  8   with the provisions of Section XIV below.
                  9                2.    Protected Material must be stored and maintained by a Receiving
                10    Party at a location and in a secure manner that ensures that access is limited to the
                11    persons authorized under this Order.
                12          B.     Disclosure of “CONFIDENTIAL” Information or Items.
                13          Unless otherwise ordered by the Court or permitted in writing by the
                14    Designating Party, a Receiving Party may disclose any information or item designated
                15    “CONFIDENTIAL” only to:
                16          (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
                17    employees of said Outside Counsel of Record to whom it is reasonably necessary to
                18    disclose the information for this Action;
                19          (b) the officers, directors, and employees (including In-House Counsel) of the
                20    Receiving Party to whom disclosure is reasonably necessary for this Action;
                21          (c)   Experts (as defined in this Order) of the Receiving Party to whom
                22    disclosure is reasonably necessary for this Action and who have signed the
                23    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                24          (d) the Court and its personnel;
                25          (e) private Court reporters and their staff to whom disclosure is reasonably
                26    necessary for this Action;
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                  1         (f) professional jury or trial consultants, mock jurors, and Professional Vendors
                  2   to whom disclosure is reasonably necessary for this Action and who have signed the
                  3   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                  4         (g) the author or recipient of a document containing the information or a
                  5   custodian or other person who otherwise possessed or knew the information;
                  6         (h) during their depositions, witnesses, and attorneys for witnesses, in the
                  7   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
                  8   requests that the witness sign the “Acknowledgment and Agreement to Be Bound”
                  9   (Exhibit A); and (2) they will not be permitted to keep any CONFIDENTIAL
                10    information unless they sign the “Acknowledgment and Agreement to Be Bound”
                11    (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the Court.
                12    Pages of transcribed deposition testimony or exhibits to depositions that reveal
                13    Protected Material may be separately bound by the Court reporter and may not be
                14    disclosed to anyone except as permitted under this Stipulated Protective Order; and
                15          (i) any mediator or settlement officer, and their supporting personnel, mutually
                16    agreed upon by any of the parties engaged in settlement discussions;
                17          (j) other persons by written agreement of the parties.
                18    IX.   PROTECTED MATERIAL SUBPOENAED OR ORDERED
                19          PRODUCED IN OTHER LITIGATION
                20          A.     If a Party is served with a subpoena or a court order issued in other
                21    litigation that compels disclosure of any information or items designated in this
                22    Action as “CONFIDENTIAL” that Party must:
                23          1.     promptly notify in writing the Designating Party. Such notification shall
                24    include a copy of the subpoena or court order unless prohibited by law;
                25          2.     promptly notify in writing the party who caused the subpoena or order to
                26    issue in the other litigation that some or all of the material covered by the subpoena
                27    or order is subject to this Protective Order. Such notification shall include a copy of
                28    this Protective Order; and
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                  1         3.       cooperate with respect to all reasonable procedures sought to be pursued
                  2   by the Designating Party whose Protected Material may be affected.
                  3         B.       If the Designating Party timely seeks a protective order, the Party
                  4   served with the subpoena or court order shall not produce any information
                  5   designated in this Action as “CONFIDENTIAL” before a determination by the court
                  6   from which the subpoena or order issued, unless the Party has obtained the
                  7   Designating Party’s permission, or unless otherwise required by the law or court
                  8   order. The Designating Party shall bear the burden and expense of seeking
                  9   protection in that Court of its confidential material and nothing in these provisions
                10    should be construed as authorizing or encouraging a Receiving Party in this Action
                11    to disobey a lawful directive from another court.
                12    X.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                13          PRODUCED IN THIS LITIGATION
                14          A.       The terms of this Order are applicable to information produced by a
                15    Non-Party in this Action and designated as “CONFIDENTIAL”. Such information
                16    produced by Non-Parties in connection with this litigation is protected by the
                17    remedies and relief provided by this Order. Nothing in these provisions should be
                18    construed as prohibiting a Non-Party from seeking additional protections.
                19          B.       In the event that a Party is required, by a valid discovery request, to
                20    produce a Non-Party’s confidential information in its possession, and the Party is
                21    subject to an agreement with the Non-Party not to produce the Non-Party’s
                22    confidential information, then the Party shall:
                23          (1) promptly notify in writing the Requesting Party and the Non-Party that
                24    some or all of the information requested is subject to a confidentiality agreement with
                25    a Non-Party;
                26          (2) promptly provide the Non-Party with a copy of the Protective Order in this
                27    Action, the relevant discovery request(s), and a reasonably specific description of the
                28    information requested; and
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                  1         (3) make the information requested available for inspection by the Non-Party,
                  2   if requested.
                  3         C.        If a Non-Party fails to seek a protective order from this Court within 14
                  4   days of receiving the notice and accompanying information, the Receiving Party
                  5   may produce the Non-Party’s confidential information responsive to the discovery
                  6   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
                  7   not produce any information in its possession or control that is subject to the
                  8   confidentiality agreement with the Non-Party before a determination by the Court
                  9   unless otherwise required by the law or court order. Absent a Court order to the
                10    contrary, the Non-Party shall bear the burden and expense of seeking protection in
                11    this Court of its Protected Material.
                12    XI.   UNAUTHORIZED DISCLOSURE OF PROTECTED
                13          MATERIAL
                14          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                15    Protected Material to any person or in any circumstance not authorized under this
                16    Protective Order, the Receiving Party must immediately (a) notify in writing the
                17    Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
                18    all unauthorized copies of the Protected Material, (c) inform the person or persons to
                19    whom unauthorized disclosures were made of all the terms of this Order, and (d)
                20    request such person or persons to execute the “Acknowledgment and Agreement to
                21    Be Bound” (Exhibit A).
                22    XII. INADVERTENT PRODUCTION OF PRIVILEGED OR
                23          OTHERWISE PROTECTED MATERIAL
                24          A.        When a Producing Party gives notice to Receiving Parties that certain
                25    inadvertently produced material is subject to a claim of privilege or other protection,
                26    the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                27    Procedure 26(b)(5)(B).
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                  1         B.     The production of privileged or work-product protected documents,
                  2   electronically stored information (“ESI”) or information, whether inadvertent or
                  3   otherwise, is not a waiver of the privilege or protection from discovery in this case or
                  4   in any other federal or state proceeding. This Order shall be interpreted to provide the
                  5   maximum protection allowed by Federal Rule of Evidence 502(d).
                  6         C.     Nothing contained herein is intended to or shall serve to limit a party’s
                  7   right to conduct a review of documents, ESI or information (including metadata) for
                  8   relevance, responsiveness and/or segregation of privileged and/or protected
                  9   information before production.
                10          E.     Whenever possible, the Producing Party must produce substitute
                11    information that redacts the information subject to the claimed protection. Within 30
                12    days of notice, the Receiving Party must (1) certify to the Designating Party it has
                13    appropriately swapped the substitute production (if applicable) or destroyed all copies
                14    that it received, made, and/or distributed; and (2) if it was practicably unable to
                15    substitute or destroy any information because disclosures occurred while the
                16    Receiving Party was under no duty of confidentiality under the terms of this Order
                17    regarding that information, the Receiving Party must reasonably provide as much
                18    information as practicable to aid the Designating Party in protecting the information,
                19    consistently with the Receiving Party’s attorney-client, work-product, and/or trial-
                20    preparation privileges.
                21    XIII. MISCELLANEOUS
                22          A.     Right to Further Relief.
                23          Nothing in this Order abridges the right of any person to seek its modification
                24    by the Court in the future.
                25          B.     Right to Assert Other Objections.
                26          No Party waives any right it otherwise would have to object to disclosing or
                27    producing any information or item on any ground not addressed in this Protective
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                  1   Order. Similarly, no Party waives any right to object on any ground to use in evidence
                  2   of any of the material covered by this Protective Order.
                  3            C.    Filing Protected Material.
                  4            A Party that seeks to file under seal any Protected Material must comply with
                  5   Civil Local Rule 79-5 and with any pertinent orders of the assigned District Judge and
                  6   Magistrate Judge. Protected Material may only be filed under seal pursuant to a court
                  7   order authorizing the sealing of the specific Protected Material at issue. If a Party’s
                  8   request to file Protected Material under seal is denied by the Court, then the Receiving
                  9   Party may file the information in the public record unless otherwise instructed by the
                10    Court.
                11    XIV. FINAL DISPOSITION
                12             A.    After the final disposition of this Action, as defined in Section V, within
                13    60 days of a written request by the Designating Party, each Receiving Party must
                14    return all Protected Material to the Producing Party or destroy such material. As used
                15    in this subdivision, “all Protected Material” includes all copies, abstracts,
                16    compilations, summaries, and any other format reproducing or capturing any of the
                17    Protected Material. Whether the Protected Material is returned or destroyed, the
                18    Receiving Party must submit a written certification to the Producing Party (and, if not
                19    the same person or entity, to the Designating Party) by the 60 day deadline that (1)
                20    identifies (by category, where appropriate) all the Protected Material that was returned
                21    or destroyed and (2) affirms that the Receiving Party has not retained any copies,
                22    abstracts, compilations, summaries or any other format reproducing or capturing any
                23    of the Protected Material. Notwithstanding this provision, Counsel are entitled to
                24    retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
                25    transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
                26    reports, attorney work product, and consultant and expert work product, even if such
                27    materials contain Protected Material. Any such archival copies that contain or
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                  1   constitute Protected Material remain subject to this Protective Order as set forth in
                  2   Section V.
                  3         B.     Any violation of this Order may be punished by any and all appropriate
                  4   measures including, without limitation, contempt proceedings and/or monetary
                  5   sanctions.
                  6
                            IT IS SO STIPULATED.
                  7
                      Dated: October 28, 2021               DLA PIPER LLP (US)
                  8
                  9
                                                            By: /s/ Nancy Nguyen Sims
                10                                             NANCY NGUYEN SIMS
                11                                             MICHELLE CHUNG
                                                               Attorneys for Plaintiff
                12                                             THE BOSTON CONSULTING
                13                                             GROUP, INC.

                14
                      Dated: October 28, 2021               KATTEN MUCHIN ROSEMAN, LLP
                15
                16
                                                            By: /s/ Tami Kameda Sims
                17
                                                               STUART RICHTER
                18                                             TAMI KAMEDA SIMS
                                                               SHELBY PALMER
                19                                             Attorneys for Defendant
                20                                             ALORICA, INC.

                21
                22          IT IS SO ORDERED.
                23
                      DATED: October 29, 2021
                24
                25                                             Honorable Douglas F. McCormick
                26                                             United States Magistrate Judge

                27
                28
DLA P IPER LLP (US)
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                                                STIPULATED PROTECTIVE ORDER
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                  1                            EXHIBIT A
                                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                  2
                      I,   _____________________________            [print   or    type    full   name],    of
                  3
                      _________________ [print or type full address], declare under penalty of perjury that
                  4
                      I have read in its entirety and understand the Protective Order that was issued by the
                  5
                      United States District Court for the Central District of California on
                  6
                      _________________________ in the case of The Boston Consulting Group, Inc. v.
                  7
                      Alorica, Inc., Case No. 8:20-cv-02047 JVS (DFMx). I agree to comply with and to
                  8
                      be bound by all the terms of this Protective Order and I understand and acknowledge
                  9
                      that failure to so comply could expose me to sanctions and punishment in the nature
                10
                      of contempt. I solemnly promise that I will not disclose in any manner any information
                11
                      or item that is subject to this Protective Order to any person or entity except in strict
                12
                      compliance with the provisions of this Order.
                13
                            I further agree to submit to the jurisdiction of the United States District Court
                14
                      for the Central District of California for the purpose of enforcing the terms of this
                15
                      Protective Order, even if such enforcement proceedings occur after termination of this
                16
                      action. I hereby appoint __________________________ [print or type full name] of
                17
                      _______________________________________ [print or type full address and
                18
                      telephone number] as my California agent for service of process in connection with
                19
                      this action or any proceedings related to enforcement of this Protective Order.
                20
                21
                      Date: ______________________________________
                22
                23
                      City and State where sworn and signed: _________________________________
                24
                25
                      Printed name: _______________________________
                26
                27
                      Signature: __________________________________
                28
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                                                  STIPULATED PROTECTIVE ORDER
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                  1                             SIGNATURE ATTESTATION
                  2
                            I hereby attest that all signatories listed above, on whose behalf this stipulation
                  3
                      is submitted, concur in the filing’s content and have authorized the filing.
                  4
                  5
                      Dated: October 28, 2021                 DLA PIPER LLP (US)
                  6
                  7
                                                              By: /s/ Nancy Nguyen Sims
                  8                                              NANCY NGUYEN SIMS
                  9                                              MICHELLE CHUNG
                                                                 Attorneys for Plaintiff
                10                                               THE BOSTON CONSULTING
                11                                               GROUP, INC.

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DLA P IPER LLP (US)
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                                                 STIPULATED PROTECTIVE ORDER
